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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                    :
WILLIAM C. TOTH JR., et al.,        :
                                    :
           Plaintiffs,              :
                                    :   No. 1:22-cv-00208-JPW
     v.                             :
                                    :   Honorable Jennifer P. Wilson
LEIGH M. CHAPMAN, et al.,           :
                                    :
           Defendants.              :
                                    :
  CARTER PETITIONERS’ REPLY TO PLAINTIFFS’ RESPONSE IN
          OPPOSITION TO CARTER PETITIONERS’
          MOTION TO INTERVENE AS DEFENDANTS
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                                  INTRODUCTION

      Plaintiffs’ lawsuit is a meritless eleventh-hour attempt to override and nullify

the relief the Carter Petitioners obtained in state court. Just two days ago, the state

court litigation initiated and prosecuted by the Carter Petitioners concluded when

the Pennsylvania Supreme Court ordered the implementation of a constitutionally

compliant congressional map—the map proposed and advocated for by the Carter

Petitioners. The Commonwealth’s highest court also directed Defendant Acting

Secretary to implement the new map and begin conducting the election “without

delay.” Renewed Emergency Temporary Restraining Order (“Renewed TRO”) Ex.

1 at 2-4, ECF No. 30-1. As a result, beginning today, congressional candidates can

circulate nomination petitions under the new map approved by the Pennsylvania

Supreme Court.

      Nevertheless, Plaintiffs baselessly argue that the Carter Petitioners are not

entitled to intervene in this case because they have no “significantly protectable

interest.” Opp’n Mot. Intervene at 1, ECF No. 38. But the Carter Petitioners

unquestionably have an interest in this case, which not only threatens the remedy

that they secured in the state court litigation they initiated, but also seeks to force the

Carter Petitioners to vote in unconstitutional at-large elections despite the

Commonwealth’s adoption of a constitutional congressional plan. Plaintiffs’

contention to the contrary rests on a legal argument that directly conflicts with
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binding Supreme Court precedent on the use of at-large elections when a state court

has already adopted and implemented a constitutional map.

      Plaintiffs also wrongly argue that Defendants will adequately represent the

Carter Petitioners, ignoring that Defendants’ core interests as election officials are

distinct from the individual and personal interests of the Carter Petitioners. Indeed,

the Carter Petitioners are not only Pennsylvania voters but also the proponents of the

map adopted by the Pennsylvania Supreme Court in a case they filed against the

same Defendants as here.

      Because the Carter Petitioners clearly possess an interest in the subject matter

of the action and their interests are not adequately represented by the existing parties

to the lawsuit, they are entitled to intervene in this case as a matter of right. See Fed.

R. Civ. P. 24(a)(2). In the alternative, the Carter Petitioners respectfully request that

the Court grant them permissive intervention under Rule 24(b).

                                    ARGUMENT

I.    The Carter Petitioners are entitled to intervene as a matter of right under
      Rule 24(a)(2).

      Plaintiffs only contest two of the four requirements that the Carter Petitioners

must satisfy to intervene as of right: that they possess an interest in the subject matter

of the action, and that their interests are adequately represented by the existing

parties in the lawsuit. See Opp’n Mot. Intervene at 2. Both arguments fall far short.



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A.    The Carter Petitioners possess a significant, legally cognizable interest in
      this litigation.

      Plaintiffs’ argument that the Carter Petitioners lack an interest in this litigation

is grounded entirely in baseless rhetoric, rather than a practical evaluation of the

Carter Petitioners’ actual interests. In essence, Plaintiffs argue that their proposed

interpretation of the Elections Clause is so clearly correct that no party who disagrees

with them may intervene. But that assertion badly misunderstands both the

Constitution and the law of intervention. Thus, the Court can and should easily

dismiss Plaintiffs’ arguments and find that the Carter Petitioners satisfy this prong

for intervention as of right.

      Plaintiffs’ assertion that the Carter Petitioners’ only interest in this litigation

is to “subvert[] the Constitution of the United States” is as ridiculous as it sounds. It

is Plaintiffs who misunderstand the legal precedent; the Carter Petitioners seek to

intervene in this litigation precisely to protect their rights, including under the

Constitution, and defend against Plaintiffs’ meritless attempt to collaterally void a

judgment of Pennsylvania’s Supreme Court. Under binding U.S. Supreme Court

precedent, the federal provision for at-large elections, upon which Plaintiffs’ lawsuit

is based, is “inapplicable unless the state legislature, and state . . . courts, have all

failed to redistrict pursuant to § 2c,” and thus only functions as a “last-resort remedy

to be applied when . . . no constitutional redistricting plan exists and there is no time



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for either the State’s legislature or the courts to develop one.” Branch v. Smith, 538

U.S. 254, 275 (2003) (emphasis in original).

      Here, it is indisputable that the conditions triggering the “last-resort remedy”

Plaintiffs seek have not come to pass because Pennsylvania Supreme Court has

adopted a plan that Defendants agree can be implemented in time for the state’s

primary elections in the spring. The provision for at-large elections is irrefutably

“inapplicable” here given that the Commonwealth’s highest court has timely

redistricted. Id. Notably, Plaintiffs studiously avoid any substantive discussion of

Branch in their briefing in this case.

      In basing their opposition (and their entire case) on a misstatement of the law,

Plaintiffs ignore the actual “significant” legal interest the Carter Petitioners have in

this case. And that interest is multifold. It not only includes the Carter Petitioners’

rights to vote in constitutionally apportioned districts under the Free and Equal

Elections Clause of the Pennsylvania Constitution, Article I, Section 2 of the U.S.

Constitution, and 2 U.S.C. § 2c, but also includes the Carter Petitioners’ compelling

interest in protecting the relief they obtained in state court. See Br. Supp. Mot.

Intervene at 7-9, ECF No. 21; Renewed TRO Ex. 1 at 2. The Carter Petitioners not

only brought the state court action, they also prepared and submitted the

Commonwealth’s now-implemented congressional plan. The Carter Petitioners thus

have an overwhelming interest in ensuring that this federal action does not eviscerate


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the relief they obtained in the Pennsylvania Supreme Court.

      Indeed, while Plaintiffs focus their arguments on mischaracterizing the Carter

Petitioners’ interest as one that is not legally protectable, Opp’n Mot. Intervene at 4,

Plaintiffs do not dispute that the Carter Petitioners have a unique and definite interest

in ensuring that the relief they obtained in state court—relief that remedies violations

of the Carter Petitioners’ constitutional rights and implements a map they put forth—

is not nullified. That interest alone independently meets the Third Circuit’s definition

of a “significantly protectable” legal interest under Rule 24(a)(2)—“a legal interest

as distinguished from interests of a general and indefinite character”—and the Carter

Petitioners have “demonstrate[d] that there is a tangible threat to [this] legally

cognizable interest” that forms the basis of their right to intervene. Mountain Top

Condo. Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 366 (3d Cir. 1995)

(quoting Harris v. Pernsley, 820 F.2d 592, 601 (3d Cir. 1987)).

      In particular, litigants who obtained a judgment in a prior action are entitled

to intervene as of right in a later action that threatens the relief awarded under the

prior judgment. See, e.g., Teague v. Bakker, 931 F.2d 259, 261–62 (4th Cir. 1991)

(finding that intervenors’ “ability to protect their interest would be impaired or

impeded” by a judgment that would put the intervenors’ ability to satisfy a prior

judgment at risk); Jansen v. City of Cincinnati, 904 F.2d 336, 342 (6th Cir. 1990)

(holding that the district court was required to grant intervention in a case


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challenging a fire department’s use of affirmative action, where the fire department

implemented an affirmative action program as part of a consent decree to which

proposed intervenors were a party). Similarly, the Third Circuit has repeatedly held

that intervention is warranted if the proposed remedy threatens to harm intervenors.

See, e.g., Brody By and Through Sugzdinis v. Spang, 957 F.2d 1108, 1123 (3d Cir.

1992); United States v. Alcan Aluminum, Inc., 25 F.3d 1174, 1185 n.15 (3d Cir.

1994).

      These precedents are directly applicable to the Carter Petitioners’ motion to

intervene. The Carter Petitioners have obtained relief for their constitutional injuries

through the state court proceedings, and Plaintiffs seek to undo that relief and nullify

the claims upon which the Carter Petitioners prevailed. Under these circumstances,

there can be no doubt that the Carter Petitioners have demonstrated the existence of

a significant and cognizable legal interest and their intervention is plainly warranted.

B.    The Carter Petitioners’ interests are not adequately represented by
      Defendants.

      Plaintiffs are wrong that a presumption of adequate representation attaches in

the present case just because Defendants include government officers. As a general

matter, the Third Circuit has found that “[t]he burden of establishing inadequacy of

representation by existing parties varies with each case.” Kleissler v. U.S. Forest

Serv., 157 F.3d 964, 972 (3d Cir. 1998) (emphasis added). While in some

circumstances “a rebuttable presumption of adequacy applies if one party is a

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government entity charged . . . with representing the interests of the applicant for

intervention,” Pennsylvania v. President United States of Am., 888 F.3d 52, 60 (3d

Cir. 2018) (quoting United States v. Territory of the Virgin Islands, 748 F.3d 514,

520 (3d Cir. 2014)), the Third Circuit has specified that such a presumption usually

applies “when the concerns of the proposed intervenor, e.g., a ‘public interest’ group,

closely parallel those of the public agency.” Kleissler, 157 F.3d at 972; see also

President United States, 888 F.3d at 60–61 (noting that the presumption of adequacy

of representation is “particularly strong” when the governmental and private

interests “closely parallel” one another or are “nearly identical”). Those

circumstances are absent here because the Carter Petitioners are a group of

individual voters, not a cohesive public interest group whose interests, activities,

mission, or organization closely parallel those of the Defendants, who are state

election officials.

       Instead, this case falls within the line of cases holding that when the

government’s “views are necessarily colored by its view of the public welfare rather

than the more parochial views of a proposed intervenor whose interest is personal to

[them], the burden [of establishing inadequacy of representation] is comparatively

light.” Kleissler, 157 F.3d at 972 (citing Mausolf v. Babbitt, 85 F.3d 1295, 1303 (8th

Cir.1996) (“[W]hen the proposed intervenors’ concern is not a matter of ‘sovereign

interest,’ there is no reason to think the government will represent it.”)); see also


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Issa v. Newsom, No. 220CV01044MCECKD, 2020 WL 3074351, at *3 (E.D. Cal.

June 10, 2020) (finding inadequacy of representation where “[State] Defendants’

arguments turn on their inherent authority as state executives and their responsibility

to properly administer election laws” while, for example, “Proposed Intervenors are

concerned with ensuring . . . the voters they represent have the opportunity to vote

in   the    upcoming       federal    election”);   Paher      v.   Cegavske,      No.

320CV00243MMDWGC, 2020 WL 2042365, at *3 (D. Nev. Apr. 28, 2020) (finding

inadequacy of representation where proposed intervenors, despite sharing goals with

State Defendants, “do not agree” with them about all aspects of the underlying issue,

“as evidenced by their State Court Action, and may present arguments about the

need to safeguard [the] right to vote that are distinct from Defendants’ arguments”).

These are precisely the circumstances at issue here.

      Defendants’ primary interests in these matters are clearly distinct from the

Carter Petitioners’ interests, and therefore Defendants can hardly be said to

adequately represent the interests of the Carter Petitioners. Defendants are

government officials whose interests are in the orderly operation of the law, and

they have no constitutional voting rights that are implicated or threatened by

Plaintiffs’ lawsuit. In contrast, the Carter Petitioners are voters whose interests are

in voting under the congressional districts that they proposed and the Pennsylvania

Supreme Court has now adopted. See Brief in Support of Mot. Intervene at 13; see


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also id. Exs. B and C. Indeed, Defendants in this case are largely the same defendants

the Carter Petitioners sued in state court to obtain a constitutional congressional plan.

See Paher, 2020 WL 2042365, at *3 (finding proposed intervenors-defendants’ state

court action was evidence of divergent interest with state defendants). Those same

Defendants cannot be said to have “closely parallel” or “nearly identical” interests

as the Carter Petitioners. See President United States, 888 F.3d at 60–61. Thus, the

Carter Petitioners have clearly satisfied the applicable “minimal” burden that applies

in this case. Trbovich v. United Mine Workers, 202 U.S. 528, 538 n.10 (1972). (“The

requirement of the Rule is satisfied if the applicant shows that representation of his

interest ‘may be’ inadequate; and the burden of making that showing should” thus

“be treated as minimal.”).

      Finally, Plaintiffs’ attempt to diminish Corman v. Torres, 287 F. Supp. 3d 558

(M.D. Pa. 2018), ignores that the factual and procedural posture of that case is

virtually identical to this one. In Corman, a group of voters, just like the Carter

Petitioners, successfully challenged the Commonwealth’s congressional district map

in state court, and as a remedy, the Pennsylvania Supreme Court ordered use of a

new map for the upcoming election. Subsequently, a group of Republican legislators

and congressmen filed a collateral attack in federal court—just as Plaintiffs do

here—asking a federal court to undo the Pennsylvania Supreme Court’s decision.

See generally id. The state court petitioners were granted intervention in that federal


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suit. Order at 1-2, Corman v. Torres, 287 F. Supp. 3d 558, No 1:18-cv-00443-CCC-

KAJ-JBS (M.D. Pa. Mar. 2, 2018), ECF No. 85. Thus, contrary to Plaintiffs’

argument, Corman strongly supports intervention of the Carter Petitioners. If

anything, the case for intervention is even stronger here now that the Pennsylvania

Supreme Court has adopted the Carter Petitioners’ proposed plan and has continued

to retain jurisdiction over the case. See Growe v. Emison, 507 U.S. 25, 33 (1993)

(“In the reapportionment context, the Court has required federal judges to defer

consideration of disputes involving redistricting where the State, through its

legislative or judicial branch, has begun to address that highly political task itself.”).

      Indeed, federal courts routinely allow parties like the Carter Petitioners to

intervene in redistricting litigation because such cases implicate unique interests

beyond those of the state. See, e.g., Nash v. Blunt, 140 F.R.D. 400, 403 (W.D. Mo.

1992) (holding that despite the general rule that state defendants can adequately

defend official enactments, “[r]edistricting cases seem typically to follow the

exception rather than the general rule”); Texas v. United States, 831 F. Supp. 2d 244,

247 n.2 (D.D.C. 2011) (noting grant of “seven parties status as Defendant–

Intervenors” in redistricting case). The Carter Petitioners should similarly be

allowed to intervene to protect their unique interests.




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II.   In the alternative, the Carter Petitioners request that the Court grant
      them permissive intervention under Rule 24(b).

      Even if the Carter Petitioners were not entitled to intervene as of right,

permissive intervention would be warranted under Rule 24(b). The Court has broad

discretion to grant a motion for permissive intervention, and courts that deny

intervention as of right often grant permissive intervention. See, e.g., McKay v.

Heyison, 614 F.2d 899, 906 (3d Cir. 1980).

      Plaintiffs contest only whether the Carter Petitioners have “a claim or defense

that shares with the main action a common question of law or fact.” See Fed. R. Civ.

P. 24(b)(1)(B); Opp’n Mot. Intervene at 11-12. But Plaintiffs misconstrue the

standard for permissive intervention. The Third Circuit, in assessing whether to grant

permissive intervention, asks whether proposed intervenors’ interests share “any

questions of law or fact” with the questions at the center of the core lawsuit. See,

e.g., Islamic Soc’y of Basking Ridge v. Twp. of Bernards, 681 F. App’x 110, 112 (3d

Cir. 2017); N.C.A.A. v. Governor of New Jersey, 520 F. App’x 61, 63 (3d Cir. 2013).

      Plaintiffs do not dispute that the Carter Petitioners’ defenses share common

questions of law and fact with the existing suit, including whether Plaintiffs have

standing to assert violations of the Elections Clause, whether the Pennsylvania

Supreme Court’s adoption of a map violates the Elections Clause, and whether the

Carter Petitioners and other voters will suffer irreparable harm if Plaintiffs’

requested relief is granted. Thus, if the Court fails to find the Carter Petitioners may

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intervene as of right, the Court should exercise its discretion and grant the Carter

Petitioners permissive intervention. See, e.g., Order at 1-2, Banerian v. Benson, No

1:22-cv-00054-PLM-SJB (W.D. Mich. Feb. 11, 2022), ECF No. 31 (in granting

permissive intervention, the court asserted that “the plaintiffs speculate that the

intervenors’ arguments would duplicate those of the named defendants in this case.

But that would be our problem more than the plaintiffs’; and meanwhile the

intervenors might just as easily help to clarify the issues before the court.”).

                                   CONCLUSION

      For the reasons stated above and in their motion to intervene, the Carter

Petitioners respectfully request that the Court grant their motion to intervene as a

matter of right under Fed. R. Civ. P. Rule 24(a)(2) or, in the alternative, permit them

to intervene under Rule 24(b).


Dated: February 25, 2022.                         Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Reply to Plaintiffs’ Opposition to the

Carter Petitioners’ Motion to Intervene as Defendants contains 2,745 words,

based on the word count of the word processing system used to prepare this brief,

and thereby complies with the Local Civil Rule 7.8.



DATED: February 25, 2022               /s/ Elizabeth V. Wingfield




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